                   Case 2:21-cv-00811-TSZ Document 65 Filed 10/06/22 Page 1 of 2




 1                                                             THE HONORABLE THOMAS S. ZILLY
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 6
                                   UNITED STATES DISTRICT COURT
 7                                WESTERN DISTRICT OF WASHINGTON
 8
     BUNGIE, INC.,                                       No. 2:21-cv-811-TSZ
 9
                              Plaintiff,                 DECLARATION OF JACOB DINI IN
10                                                       SUPPORT OF PLAINTIFF’S MOTION TO
     v.                                                  DISMISS PHOENIX DIGITAL GROUP,
11                                                       LLC’S AND JAMES MAY’S
     AIMJUNKIES.COM; PHOENIX                             COUNTERCLAIMS WITH PREJUDICE
12   DIGITAL GROUP LLC; DAVID
     SCHAEFER; JORDAN GREEN;
13   JEFFREY CONWAY; and JAMES MAY,
14                            Defendants.
15
              I, Jacob Dini, declare as follows:
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              1.       I am an attorney licensed to practice law before the courts of the State of
17
     Washington. I am an attorney at Perkins Coie LLP, and counsel in this action for Plaintiff Bungie,
18
     Inc. (“Bungie” or “Plaintiff”). I submit this declaration in support of Plaintiff’s Motion to Dismiss
19
     Phoenix Digital Group, LLC’s and James May’s Counterclaims with Prejudice. I have personal
20
     knowledge of the facts stated herein and, if called upon, could and would testify competently
21
     thereto under oath.
22
              2.       Attached hereto as Exhibit 1 is a true and correct copy of an email I sent to counsel
23
     for Defendants on September 8, 2022 and counsel for Defendants’ response.
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      DINI DECL. ISO PLAINTIFF’S MOTION
                                                                                   Perkins Coie LLP
      TO DISMISS                                                            1201 Third Avenue, Suite 4900
      (No. 2:21-cv-811-TSZ) – 1                                               Seattle, WA 98101-3099
                                                                                Phone: 206.359.8000
     158510672.1                                                                 Fax: 206.359.9000
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 1            3.       On September 30, 2022, I had a conference with counsel for Defendants. Attached
 2   hereto as Exhibit 2 is a true and correct copy of an email exchange summarizing that conference.
 3   Defendants’ counsel has not responded.
 4            4.       Attached hereto as Exhibit 3 is a true and correct copy of a screenshot taken from
 5   2:05 minute mark of the video located at https://www.youtube.com/watch?v=2aQeBeXuj5s,
 6   captured on October 5, 2022. The email referenced in this video has not been produced by
 7   Defendants in discovery.
 8

 9            I declare under penalty of perjury under the laws of the United States that the foregoing is
10   true and correct.
11

12            Executed this 6th day of October, 2022.
13
                                                        /s/Jacob Dini
14                                                      Jacob Dini

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      DINI DECL. ISO PLAINTIFF’S MOTION
                                                                                 Perkins Coie LLP
      TO DISMISS                                                           1201 Third Avenue, Suite 4900
      (No. 2:21-cv-811-TSZ) – 2                                              Seattle, WA 98101-3099
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